Case 19-05338-sms            Doc 6   Filed 02/21/20 Entered 02/21/20 14:59:25    Desc Main
                                     Document      Page 1 of 7




                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


IN RE:                                          )
                                                )    CASE NO. 19-62152-SMS
ISAAC HAMMETT,                                  )
                                                )    CHAPTER 13
      Debtor.                                   )
__________________________________              )    JUDGE SAGE M. SIGLER
                                                )
                                                )
ISAAC HAMMETT,                                  )
                                                )    ADVERSARY NO. 19-05338
         Plaintiff,                             )
                                                )
   vs.                                          )
                                                )
STATEBRIDGE COMPANY, LLC, and                   )
WATERFALL VICTORIA GRANTOR                      )
TRUST II, SERIES G                              )
                                                )
         Defendants.

                             REPORT OF RULE 26(F) CONFERENCE

         The conference held pursuant to FED. R. CIV. P. 26(f) and BLR 7016-1 on January 26, 2020,

which was attended by:

         For Plaintiff:

                 Jeremey A. Striegel
                 J. Rachel Scott
                 Atlanta Legal Aid Society
                 54 Ellis St. NE Atlanta, GA 30303

         For Defendant:

                 Bret Chaness
                 Rubin Lublin, LLC
                 3145 Avalon Ridge Pl., Ste. 100 Peachtree Corners, GA 30071
Case 19-05338-sms          Doc 6    Filed 02/21/20 Entered 02/21/20 14:59:25               Desc Main
                                    Document      Page 2 of 7




1. Initial Disclosures. (Include one or more of the following, modified as appropriate.)

       [ ] The parties have made the initial disclosures required by FED. R. CIV. P. 26(a)(1).

       [ ] The parties agree to provide disclosures as follows [or as shown on the attached exhibit]

           ________________________________________________________________________

       [X] The parties have agreed not to make initial disclosures and to waive the requirements of FED.

           R. CIV. P. 26(a)(1) with regard to same.

2. Discovery Plan. The parties jointly propose to the court the following discovery plan as

shown on the attached exhibit, subject to modification by the Court with the consent of the

parties or for good cause shown: See Exhibit.

3. Other items.

       (a) The parties shall submit a consolidated pretrial order no later than 30 days after the

           close of discovery or the Court’s ruling on any dispositive motion(s), whichever is later.

       (b) Plaintiff will be allowed until March 18, 2020 to file motions to join additional parties

           and until March 18, 2020 to file motions to amend the pleadings.

       (c) Defendant will be allowed until March 18, 2020 to file motions to join additional

           parties and until March 18, 2020 to file motions to amend the pleadings.

       (d) All dispositive motions will be filed by July 16, 2020.

4. Settlement Potential.

       (a) The parties [X] have [ ] have not discussed settlement.

       (b) The parties [X] do [ ] do not intend to hold additional settlement conferences among

           themselves prior to the close of discovery. The proposed date of the next settlement

           conference is to be determined.


                                                  2
Case 19-05338-sms        Doc 6    Filed 02/21/20 Entered 02/21/20 14:59:25                Desc Main
                                  Document      Page 3 of 7




       (c) The parties [X] have [ ] have not considered alternative dispute resolution.

       (d) Settlement prospects may be enhanced by one of the following alternative dispute

           resolution procedures [check applicable boxes]: [X] Mediation; [ ] Judicial settlement

           conference; [ ] Early neutral evaluation; [ ] Other __________________.

5. Identify any other matters regarding discovery or case management that may require the

court’s attention (e.g., concerns about confidentiality; the need for protective orders; unmovable

scheduling conflicts). N/A.

6. Any other matters not covered above: N/A.

7. The parties [ ] do [X] do not request a conference with the court prior to entry of the

scheduling order. Any such conference may be [ ] by telephone [ ] in chambers [ ] in court.



/s/ Jeremey A. Striegel___________                          /s/ Bret Chaness___________
J. Rachel Scott                                             Bret Chaness
Georgia Bar No. 253048                                      Georgia Bar No. 720572
Jeremey A. Striegel                                         Kearstin H. Sale
Georgia Bar No. 598429                                      Georgia Bar No. 650510
Scott: (404) 614-3986                                       (678) 281-2730
Striegel: (404) 614-3947                                    (404)921-9016 (fax)
(404) 525-5710 (Fax)                                        bchaness@rubinlublin.com
jrscott@atlantalegalaid.org                                 ksale@rubinlublin.com
jstriegel@atlantalegalaid.org                               Counsel for Defendants
Counsel for Plaintiff




                                                3
Case 19-05338-sms        Doc 6    Filed 02/21/20 Entered 02/21/20 14:59:25           Desc Main
                                  Document      Page 4 of 7




                          Exhibit to Report of Rule 26(f) Conference

                                     1. Initial Disclosures

       The parties have agreed not to make initial disclosures and to waive the requirements of

FED. R. CIV. P. 26(a)(1) with regard to same.

                                       2. Discovery Plan

       (a) Discovery will be needed on the following subjects:

               1. Whether Plaintiff’s loss mitigation application triggered any obligations of

                  Statebridge in accordance with RESPA and Regulation X;

               2. Whether Statebridge’s conduct violated RESPA Loss Mitigation Procedures

                  as outlined in 12 C.F. R. § 1024.41;

               3. Whether Statebridge’s conduct constituted fraudulent misrepresentation;

               4. Whether Statebridge’s conduct constituted negligent misrepresentation;

               5. Whether Plaintiff’s correspondence with Statebridge constituted a Qualified

                  Written Requests as defined by RESPA and Regulation X;

               6. Whether Statebridge’s conduct violated RESPA Qualified Written Request,

                  Request for Information, and Error Resolution procedures as outlined in 12

                  U.S.C. § 2605(e), § 2605(k)(1)(C), 12 C.F.R. §§1024.35 and 1024.36;

               7. Whether Statebridge’s conduct is part of an ongoing pattern or practice of

                  noncompliance with RESPA;

               8. Whether Statebridge owed a duty of care to Plaintiff;

               9. Whether Statebridge breached a duty of care to Plaintiff;

               10. Whether Statebridge failed to credit Plaintiff for any mortgage payment(s);


                                                4
Case 19-05338-sms       Doc 6   Filed 02/21/20 Entered 02/21/20 14:59:25          Desc Main
                                Document      Page 5 of 7




            11. Whether Statebridge’s conduct resulted in excessive and unreasonable

               property inspection fees;

            12. Whether Statebridge’s conduct resulted in fees and charges related to an

               improper foreclosure;

            13. Whether Plaintiff suffered damages as a result of Statebridge’s purported

               noncompliance with RESPA and/or Regulation X;

            14. Whether Plaintiff suffered damages resulting from Statebridge’s purported

               conduct and the extent of such damages; and

            15. Whether Statebridge’s conduct demonstrated an entire want of care and

               conscious indifference to consequences.

      (b) All discovery will be commenced in time to be completed by June 16, 2020.

        Discovery on N/A [Describe any subjects on which early discovery will be needed, if

        applicable] will be completed by N/A.

     (c) Each party may propound a maximum of 25 interrogatories to any other party.

        Responses to interrogatories are due 30 days after service.

     (d) Each party may submit a maximum of N/A requests for production of documents to

        any other party. Objections to production of documents are due 30 days after service.

     (e) Each party may submit a maximum of N/A requests for admission to any other party.

        Responses to requests for admission due 30 days after service.

     (f) Depositions shall be limited to 10 depositions by plaintiff(s) and 10 depositions by

        defendant(s).




                                             5
Case 19-05338-sms      Doc 6     Filed 02/21/20 Entered 02/21/20 14:59:25            Desc Main
                                 Document      Page 6 of 7




     (g) Each deposition is limited to a maximum number of 7 hours unless extended by

        agreement of the parties, except for the depositions of N/A.

     (h) Reports from retained experts under FED. R. CIV. P. 26(a)(2) are due from

        plaintiff(s) at least 90 days before the date set for trial and from defendant(s) at least

        90 days before the date set for trial.

     (i) Supplementations under FED. R. CIV. P. 26(e) due as follows: N/A.




                                                 6
Case 19-05338-sms         Doc 6   Filed 02/21/20 Entered 02/21/20 14:59:25          Desc Main
                                  Document      Page 7 of 7




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ISAAC HAMMETT,                                )
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      Debtor.                                 )
__________________________________            )       JUDGE SAGE M. SIGLER
                                              )
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ISAAC HAMMETT,                                )
                                              )       ADVERSARY NO. 19-05338
         Plaintiff,                           )
                                              )
   vs.                                        )
                                              )
STATEBRIDGE COMPANY, LLC, and                 )
WATERFALL VICTORIA GRANTOR                    )
TRUST II, SERIES G                            )
                                              )
         Defendants.

                                   SCHEDULING ORDER


         Upon review of the information contained in the Rule 26(f) Report completed and filed

by the parties on and incorporated herein, it is ORDERED that the time limits and provisions

stated     in    the     Report   are    APPROVED            except   as   herein    modified:

_______________________________________________________________________________

___________________________________________________________________________.

                SO ORDERED this ___ day of __________________, 2020.


                                            ____________________________________
                                            JUDGE SAGE M. SIGLER
                                            UNITED STATES BANKRUPTCY JUDGE


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